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Counsel for Plaintiffs AstraZeneca AB,
AstraZeneca Pharmaceuticals LP, and
AstraZeneca UK Limited

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


ASTRAZENECA PHARMACEUTICALS
LP, ASTRAZENECA AB, and                         Civil Action No. _________________________
ASTRAZENECA UK LIMITED,

              Plaintiffs,

   v.

AUROBINDO PHARMA LIMITED, and
AUROBINDO PHARMA USA INC.,

              Defendants.



                       COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiffs AstraZeneca Pharmaceuticals LP, AstraZeneca AB, and AstraZeneca UK

Limited (collectively, “Plaintiffs”), by their attorneys, bring this complaint against Defendants

Aurobindo Pharma Limited and Aurobindo Pharma USA Inc. (collectively, “Defendants”), and

hereby allege as follows:
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                                     Nature of the Action

       1.      This is a civil action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 100 et seq., and in particular under 35 U.S.C. § 271(a-c, e). This

action relates to an Abbreviated New Drug Application (“ANDA”) No. 213298 filed by or for

the benefit of Defendants with the United States Food and Drug Administration (“FDA”) for

approval to market generic versions of Plaintiffs’ DALIRESP® pharmaceutical products that are

sold in the United States.

                                          The Parties

       2.      Plaintiff AstraZeneca Pharmaceuticals LP is a limited partnership organized under

the laws of the State of Delaware, with its principal place of business at 1800 Concord Pike,

Wilmington, Delaware 19850.

       3.      Plaintiff AstraZeneca AB is a public, limited-liability company organized under

the laws of Sweden with its principal place of business at Karlebyhus, Astraallén, Södertälje, S-

151 85, Sweden.

       4.      Plaintiff AstraZeneca UK Limited is a company incorporated under the Laws of

England and Wales, having a registered office at 1 Francis Crick Avenue, Cambridge

Biomedical Campus, Cambridge, CB2 0AA.

       5.      Plaintiffs AstraZeneca AB, AstraZeneca Pharmaceuticals LP, and AstraZeneca

UK Limited (collectively, “Plaintiffs” or “AstraZeneca”) are all wholly-owned subsidiaries of

AstraZeneca PLC.

       6.      On information and belief, Defendant Aurobindo Pharma Limited is a corporation

organized and existing under the laws of India, having its principal place of business at Water

Mark Building, Plot No. 11, Survey No. 9, Kondapur, Hitech City, Hyderabad, India.



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       7.      On information and belief, Defendant Aurobindo Pharma USA Inc. is a

corporation organized and existing under the laws of Delaware, having its principal place of

business at 279 Princeton-Hightstown Road, East Windsor, New Jersey 08520.

       8.      On information and belief, Aurobindo Pharma Limited is in the business of

manufacturing and supplying pharmaceutical drugs to Aurobindo Pharma USA Inc.

       9.      On information and belief, Aurobindo Pharma USA Inc. is in the business of

marketing, distributing, and selling, in the State of New Jersey and throughout the United States,

pharmaceutical drugs, including generic pharmaceutical drugs manufactured by Aurobindo

Pharma Limited.

       10.     On information and belief, Aurobindo Pharma USA Inc. is a wholly-owned

subsidiary of Aurobindo Pharma Limited.

                                      Jurisdiction and Venue

       11.     This is a civil action for patent infringement arising under the patent laws of the

United States, Title 35 of the U.S. Code, for infringement of U.S. Patent No. 8,536,206 (“the

’206 Patent”), U.S. Patent No. 8,604,064 (“the ’064 Patent”), and U.S. Patent No. 8,618,142

(“the ’142 Patent) (collectively, “the asserted patents”).

       12.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1338.

       13.     On information and belief, this Court has personal jurisdiction over Defendants

because Aurobindo Pharma USA Inc. is a corporation with a principal place of business in New

Jersey. On information and belief, Aurobindo Pharma USA Inc. is acting as the agent of

Aurobindo Pharma Limited with respect to ANDA No. 213298.




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       14.     This Court also has personal jurisdiction over Defendants because, inter alia, on

information and belief, Defendants have continuous and systematic contacts with the State of

New Jersey as they regularly conduct business in the State of New Jersey, either directly or

through one or more agents and/or subsidiaries, has purposefully availed themselves of the

privilege of doing business in the State of New Jersey, and intend to market, offer to sell, sell, or

distribute Aurobindo Pharma Limited’s Infringing ANDA Product in the State of New Jersey

upon approval of ANDA No. 213298.

       15.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400 as to

Aurobindo Pharma USA Inc. because, on information and belief, Aurobindo Pharma USA Inc.

has a principal place of business in New Jersey.

       16.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(c)(3) as to

Aurobindo Pharma Limited because, on information and belief, Aurobindo Pharma Limited is an

Indian corporation and not resident in the United States.

                    Regulatory Requirements for New and Generic Drugs

       17.     A person wishing to market a new drug that has not previously been approved by

the U.S. Food and Drug Administration (“FDA”) (a “pioneering” drug) must file a New Drug

Application (“NDA”) with FDA demonstrating that the drug is safe and effective for its intended

use. 21 U.S.C. § 355(b).

       18.     A person wishing to market a generic copy of a drug that previously has been

approved by FDA may follow a truncated approval process by filing an Abbreviated New Drug

Application (“ANDA”) for a generic version of that drug. In the ANDA, the applicant must

demonstrate, among other things, bioequivalence of the generic copy with the pioneering drug.

21 U.S.C. § 355(j)(2)(A)(iv).



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       19.     Unlike an NDA applicant, an ANDA applicant is not required to include safety

and effectiveness data. Instead, the ANDA applicant is permitted to rely on the approval of the

NDA applicant’s drug—in essence, piggybacking on the NDA application and safety and

effectiveness conclusions. 21 U.S.C. § 355(j).

       20.     Nor does an ANDA applicant establish any new conditions of use for the

proposed drug product. Instead, an ANDA applicant may seek approval only for conditions of

use that previously have been approved in connection with an approved NDA. 21 U.S.C.

§ 355(j)(2)(A)(i).

                                The Approved Drug Product

       21.     AstraZeneca Pharmaceuticals LP is the current holder of NDA No. 022522, for

DALIRESP®, Roflumilast Tablet 500 mcg, which was first approved by FDA on February 28,

2011. Plaintiffs market the approved drug product under the tradename DALIRESP®.

DALIRESP® is approved as a treatment to reduce the risk of chronic obstructive pulmonary

disease (COPD) exacerbation in patients with severe COPD associated with chronic bronchitis

and a history of exacerbation. A copy of the complete prescribing information for DALIRESP®

approved in NDA No. 022522 is attached as Exhibit A.

       22.     FDA has listed the ’206, ’064, and ’142 Patents in the Orange Book—formally

known as Approved Drug Products With Therapeutic Equivalence Evaluations—in connection

with NDA No. 022522.

       23.     AstraZeneca Pharmaceuticals LP maintains the listing of the ’206, ’064, and ’142

Patents in the Orange Book.

       24.     AstraZeneca AB is the current owner by assignment of the ’206, ’064, and ’142

Patents.



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       25.     On April 29, 2016, AstraZeneca AB received ownership of the NDA No. 022522

from Forest Pharmaceuticals, Inc. and Forest Research Institute Inc.

       26.     AstraZeneca UK Limited is the exclusive licensee of the ’206, ’064, and ’142

Patents.

                                       ANDA No. 213298

       27.     Upon information and belief, on or before March 13, 2019, Defendants submitted

to FDA ANDA No. 213298 with paragraph IV certifications under section 505(j)(2)(A)(vii)(IV)

of the Federal Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. § 355(j)(2)(A)(vii)(IV), for

500 mcg roflumilast tablets purportedly bioequivalent to DALIRESP®. The purpose of the

ANDA is to obtain approval under section 505(j) of the FDCA to engage in the commercial

manufacture and sale of a generic DALIRESP® product.

       28.     Upon information and belief, the indication set forth in the proposed labeling

submitted in ANDA No. 213298 for the generic DALIRESP® product is a treatment to reduce

the risk of chronic obstructive pulmonary disease (COPD) exacerbation in patients with severe

COPD associated with chronic bronchitis and a history of exacerbation, i.e., the same indication

as that set forth in the approved labeling for DALIRESP®.

       29.     Upon information and belief, Defendants sent AstraZeneca Pharmaceuticals LP

and AstraZeneca AB a letter dated April 5, 2019 (the “Notice Letter”). The Notice Letter

represented that Aurobindo Pharma Limited had submitted to FDA ANDA No. 213298 with

paragraph IV certifications for the ’206, ’064, and ’142 Patents.

       30.     Upon information and belief, the purpose of the ANDA and paragraph IV

certifications is to obtain approval under section 505(j) of the FDCA to engage in the

commercial manufacture and sale of a generic version of DALIRESP® before the expiration of



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the patents listed in the Orange Book for NDA No. 022522. Hence, Defendants’ purpose in

submitting ANDA No. 213298 is to market products described therein before expiration of

the’206, ’064, and ’142 Patents.

                       Count 1: Patent Infringement of the ’206 Patent

         31.   Plaintiffs incorporate by reference the allegations contained in paragraphs 1 to 30

above.

         32.   The ‘206 Patent, entitled “PROCESS FOR THE PREPARATION OF

ROFLUMILAST,” was duly and legally issued by the United States Patent and Trademark

Office on September 17, 2013. Plaintiff AstraZeneca AB is the owner of the ’206 Patent.

Plaintiff AstraZeneca UK Limited is the exclusive licensee of the ’206 Patent. A true and

complete copy of the ’206 Patent is attached hereto as Exhibit B.

         33.   Upon information and belief, Defendants submitted ANDA No. 213298 to FDA

seeking approval to engage in the commercial manufacture, use, offer for sale, and sale of a

generic version of DALIRESP® before the expiration of the ’206 Patent.

         34.   Defendants’ manufacture, use, offer for sale, or sale of such product would

infringe the claims of the ’206 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

         35.   Upon information and belief, if approved, the generic DALIRESP® product for

which approval is sought in Defendants’ ANDA No. 213298 will be administered to human

patients as treatment to reduce the risk of chronic obstructive pulmonary disease (COPD)

exacerbation in patients with severe COPD associated with chronic bronchitis and a history of

exacerbation. This administration, in turn, would constitute direct infringement, either literally

or under the doctrine of equivalents, of one or more claims of the ’206 Patent. Upon information

and belief, this infringement will occur at Defendants’ behest, with their intent, knowledge, and



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encouragement, and Defendants will actively induce, encourage, aid, and abet this administration

with knowledge that they are in contravention of Plaintiffs’ rights under the ’206 Patent.

          36.   Defendants’ manufacture, use, offer for sale or sale in the United States, or

importation into the United States, of the generic DALIRESP® product for which approval is

sought in ANDA No. 213298 would actively induce and contribute to infringement of the ’206

Patent, and Defendants would be liable as infringers under 35 U.S.C. § 271(b) and/or (c).

          37.   Upon information and belief, as part of the ANDA filing, Defendants purportedly

provided written certification to FDA that the claims of the ’206 Patent are invalid and/or will

not be infringed by the manufacture, use, or sale of Defendants’ generic version of DALIRESP®.

          38.   Defendants gave written notice of their certification of invalidity and/or non-

infringement of the ’206 Patent, alleging that the claims of the ’206 Patent are invalid and that

certain claims would not be infringed by Defendants’ generic version of DALIRESP®, and

informing Plaintiffs that Defendants seek approval to engage in the commercial manufacture,

use, and sale of a product bioequivalent to DALIRESP® prior to the expiration of the ’206

Patent.

          39.   Defendants have infringed the ’206 Patent under 35 U.S.C. § 271(e)(2)(A) by

virtue of submitting ANDA No. 213298 with a Paragraph IV certification and seeking FDA

approval of ANDA No. 213298 to market a generic version of DALIRESP® prior to the

expiration of the ’206 Patent. Moreover, if Defendants commercially use, offer for sale, or sell

their generic version of DALIRESP®, or induce or contribute to such conduct, they would further

infringe the ’206 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

          40.   This case is an exceptional one, and Plaintiffs are entitled to an award of their

reasonable attorney fees under 35 U.S.C. § 285.



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         41.   Plaintiffs will be irreparably harmed if Defendants are not enjoined from

infringing or actively inducing or contributing to infringement of the ’206 Patent. Plaintiffs do

not have an adequate remedy at law.

                       Count 2: Patent Infringement of the ’064 Patent

         42.   Plaintiffs incorporate by reference the allegations contained in paragraphs 1 to 41

above.

         43.   The ‘064 Patent, entitled “PROCESS FOR THE PREPARATION OF

ROFLUMILAST,” was duly and legally issued by the United States Patent and Trademark

Office on December 10, 2013. Plaintiff AstraZeneca AB is the owner of the ’064 Patent.

Plaintiff AstraZeneca UK Limited is the exclusive licensee of the ’064 Patent. A true and

complete copy of the ’064 Patent is attached hereto as Exhibit C.

         44.   Upon information and belief, Defendants submitted ANDA No. 213298 to FDA

seeking approval to engage in the commercial manufacture, use, offer for sale, and sale of a

generic version of DALIRESP® before the expiration of the ’064 Patent.

         45.   Defendants’ manufacture, use, offer for sale, or sale of such product would

infringe the claims of the ’064 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

         46.   Upon information and belief, if approved, the generic DALIRESP® product for

which approval is sought in Defendants’ ANDA No. 213298 will be administered to human

patients as treatment to reduce the risk of chronic obstructive pulmonary disease (COPD)

exacerbation in patients with severe COPD associated with chronic bronchitis and a history of

exacerbation. This administration, in turn, would constitute direct infringement, either literally

or under the doctrine of equivalents, of one or more claims of the ’064 Patent. Upon information

and belief, this infringement will occur at Defendants’ behest, with their intent, knowledge, and



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encouragement, and Defendants will actively induce, encourage, aid, and abet this administration

with knowledge that they are in contravention of Plaintiffs’ rights under the ’064 Patent.

          47.   Defendants’ manufacture, use, offer for sale or sale in the United States, or

importation into the United States, of the generic DALIRESP® product for which approval is

sought in ANDA No. 213298 would actively induce and contribute to infringement of the ’064

Patent, and Defendants would be liable as infringers under 35 U.S.C. § 271(b) and/or (c).

          48.   Upon information and belief, as part of the ANDA filing, Defendants purportedly

provided written certification to FDA that the claims of the ’064 Patent are invalid and/or will

not be infringed by the manufacture, use, or sale of Defendants’ generic version of DALIRESP®.

          49.   Defendants gave written notice of their certification of invalidity and/or non-

infringement of the ’064 Patent, alleging that the claims of the ’064 Patent are invalid and that

certain claims would not be infringed by Defendants’ generic version of DALIRESP®, and

informing Plaintiffs that Defendants seek approval to engage in the commercial manufacture,

use, and sale of a product bioequivalent to DALIRESP® prior to the expiration of the ’064

Patent.

          50.   Defendants have infringed the ’064 Patent under 35 U.S.C. § 271(e)(2)(A) by

virtue of submitting ANDA No. 213298 with a Paragraph IV certification and seeking FDA

approval of ANDA No. 213298 to market a generic version of DALIRESP® prior to the

expiration of the ’064 Patent. Moreover, if Defendants commercially use, offer for sale, or sell

their generic version of DALIRESP®, or induce or contribute to such conduct, they would further

infringe the ’064 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

          51.   This case is an exceptional one, and Plaintiffs are entitled to an award of their

reasonable attorney fees under 35 U.S.C. § 285.



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         52.   Plaintiffs will be irreparably harmed if Defendants are not enjoined from

infringing or actively inducing or contributing to infringement of the ’064 Patent. Plaintiffs do

not have an adequate remedy at law.

                       Count 3: Patent Infringement of the ’142 Patent

         53.   Plaintiffs incorporate by reference the allegations contained in paragraphs 1 to 52

above.

         54.   The ‘142 Patent, entitled “PROCESS FOR THE PREPARATION OF

ROFLUMILAST,” was duly and legally issued by the United States Patent and Trademark

Office on December 31, 2013. Plaintiff AstraZeneca AB is the owner of the ’142 Patent.

Plaintiff AstraZeneca UK Limited is the exclusive licensee of the ’142 Patent. A true and

complete copy of the ’142 Patent is attached hereto as Exhibit D.

         55.   Upon information and belief, Defendants submitted ANDA No. 213298 to FDA

seeking approval to engage in the commercial manufacture, use, offer for sale, and sale of a

generic version of DALIRESP® before the expiration of the ’142 Patent.

         56.   Defendants’ manufacture, use, offer for sale, or sale of such product would

infringe the claims of the ’142 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

         57.   Upon information and belief, as part of the ANDA filing, Defendants purportedly

provided written certification to FDA that the claims of the ’142 Patent are invalid and/or will

not be infringed by the manufacture, use, or sale of Defendants’ generic version of DALIRESP®.

         58.   Defendants gave written notice of their certification of invalidity and/or non-

infringement of the ’142 Patent, alleging that the claims of the ’142 Patent are invalid and that

certain claims would not be infringed by Defendants’ generic version of DALIRESP®, and

informing Plaintiffs that Defendants seek approval to engage in the commercial manufacture,



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use, and sale of a product bioequivalent to DALIRESP® prior to the expiration of the ’142

Patent.

          59.    Defendants have infringed the ’142 Patent under 35 U.S.C. § 271(e)(2)(A) by

virtue of submitting ANDA No. 213298 with a Paragraph IV certification and seeking FDA

approval of ANDA No. 213298 to market a generic version of DALIRESP® prior to the

expiration of the ’142 Patent. Moreover, if Defendants commercially use, offer for sale, or sell

their generic version of DALIRESP®, or induce or contribute to such conduct, they would further

infringe the ’142 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

          60.    This case is an exceptional one, and Plaintiffs are entitled to an award of their

reasonable attorney fees under 35 U.S.C. § 285.

          61.    Plaintiffs will be irreparably harmed if Defendants are not enjoined from

infringing or actively inducing or contributing to infringement of the ’142 Patent. Plaintiffs do

not have an adequate remedy at law.

                                           Prayer for Relief

          WHEREFORE, Plaintiffs seek the following relief:

          A.     A judgment that Defendants have infringed the ’206, ’064, and ’142 Patents under

35 U.S.C. § 271(e)(2)(A);

          B.     An order pursuant to 35 U.S.C. § 271(e)(4)(A) providing that the effective date of

any FDA approval of ANDA No. 213298 is not earlier than the expiration date of the ’206, ’064,

and ’142 Patents, or any later expiration of exclusivity for the ’206, ’064, and ’142 Patents to

which Plaintiffs are or become entitled;

          C.     A permanent injunction restraining and enjoining Defendants and their officers,

agents, servants, employees, parents, subsidiaries, divisions, affiliates and those persons in active



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concert or participation with any of them, from making, using, selling, offering to sell, or

importing any product that infringes the ’206, ’064, and ’142 Patent, including the product

described in ANDA No. 213298;

       D.      A judgment declaring that the making, using, selling, offering to sell, or importing

of the product described in ANDA No. 213298 would constitute infringement of the ’206, ’064,

and ’142 Patents, or inducing or contributing to such conduct, by Defendants pursuant to 35

U.S.C. § 271(a), (b), and/or (c);

       E.      A finding that this is an exceptional case, and an award of attorneys’ fees in this

action pursuant to 35 U.S.C. § 285;

       F.      Costs and expenses in this action; and

       G.      Such further and other relief as this Court determines to be just and proper.


May 15, 2019                                           Respectfully submitted,

OF COUNSEL:
                                                       s/ John E. Flaherty
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                                                       Counsel for Plaintiffs AstraZeneca
                                                       AB, AstraZeneca Pharmaceuticals
                                                       LP, and AstraZeneca UK Limited




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             NOTICE OF OTHER ACTIONS PURSUANT TO L.CIV.R. 11.2

       I hereby certify that the following captioned actions are related to the matter in

controversy because the matter in controversy involves United States Patent Nos. 8,536,206,

8,604,064, and 8,618,142 and the same drug product:

       ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA AB, AND ASTRAZENECA
       UK LIMITED V. ALKEM LABORATORIES LTD., C.A. NO. 18-cv-16399 (D.N.J).

       The undersigned hereby further certifies that the patents-at-issue were the subject of the

previous Hatch-Waxman cases before this court, all of which have settled1:

       TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
       LIMITED V. TORRENT PHARMA INC. AND TORRENT PHARMACEUTICALS LTD.,
       C.A. NO. 16-cv-02091 (D.N.J);

       TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
       LIMITED V. MICRO LABS USA, INC. AND MICRO LABS LTD., C.A. NO. 15-cv-03376
       (D.N.J);

       TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
       LIMITED V. STRIDES PHARMA, INC. AND STRIDES PHARMA GLOBAL PTE
       LIMITED, C.A. NO. 15-cv-03378 (D.N.J);

       TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
       LIMITED V. APOTEX CORP. AND APOTEX INC., C.A. NO. 15-cv-03379 (D.N.J);

       TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
       LIMITED V. PRINSTON PHARMACEUTICAL INC., C.A. NO. 15-cv-03380 (D.N.J);

       TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
       LIMITED V. BRECKENRIDGE PHARMACEUTICAL INC., C.A. NO. 15-cv-03382
       (D.N.J);

       TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
       LIMITED V. CITRON PHARMA LLC AND MSN LABORATORIES PRIVATE LIMITED,
       C.A. NO. 15-cv-03383 (D.N.J);

       TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
       LIMITED V. MYLAN PHARMACEUTICALS INC., C.A. NO. 15-cv-03384 (D.N.J);

1
 The following cases were consolidated into In re Certain Consolidated Roflumilast Cases, C.A.
No. 15-03375 (D.N.J).
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      TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
      LIMITED V. HETERO USA INC., HETERO LABS LIMITED UNIT-III, AND HETERO
      LABS LIMITED, C.A. NO. 16-cv-03385 (D.N.J);

      TAKEDA GMBH, ASTRAZENECA PHARMACEUTICALS LP, AND ASTRAZENECA UK
      LIMITED V. ZYDUS PHARMACEUTICALS (USA) INC., C.A. NO. 15-CV-03377
      (D.N.J.).


Dated: May 15, 2019                Respectfully submitted,

OF COUNSEL:                                  s/ John E. Flaherty
                                             John E. Flaherty
                                             Ravin P. Patel
Einar Stole
                                             MCCARTER & ENGLISH LLP
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                                             Counsel for Plaintiffs AstraZeneca
                                             AB, AstraZeneca Pharmaceuticals
                                             LP, and AstraZeneca UK Limited




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